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 4   Attorney for Defendant
     NORMA GONZALEZ
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:11-CR-00076-LKK
11                                 Plaintiff,           STIPULATION AND ORDER TO
                                                        CONTINUE STATUS CONFERENCE,
12          vs.                                         AND TO EXCLUDE TIME PURSUANT
                                                        TO THE SPEEDY TRIAL ACT
13   CRESCENCIO DELGADO-EZQUIVEL, et
     al.,
14
                                   Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Samuel Wong, Assistant United States Attorney, attorney for plaintiff;
18   Douglas Beevers, attorney for defendant Crescencio Delgado-Ezquivel; Danny D. Brace, Jr.,
19   attorney for defendant Armando Vasquez-Barragan; Dina Santos, attorney for defendant
20   Waldo Perez-Mendoza; Michael E. Hansen, attorney for defendant Norma Gonzalez; and
21   Dwight Samuel, attorney for defendant Victor Gonzalez, that the previously-scheduled status
22   conference date of May 24, 2011, be vacated and the matter set for status conference on
23   July 19, 2011.
24          This continuance is requested to allow counsel additional time to review discovery with
25   the defendants, to examine possible defenses and to continue investigating the facts of the case.
26   This task is made more difficult as some of the recorded conversations that are involved in the
27   discovery provided by the United States are in the Spanish language and the defense counsel
28   will need the assistance of a Spanish/English language interpreter to review the discovery.


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 1   Also, Michael Hansen, counsel for defendant David Avila-Sandoval, is presently in trial.
 2          Accordingly, all counsel and each defendant agree that time under the Speedy Trial Act
 3   from the date this stipulation is lodged, through July 19, 2011, should be excluded in
 4   computing time within which trial must commence under the Speedy Trial Act, pursuant to
 5   Title 18 U.S.C. §§ 3161(h)(7)(A) and (B)(iv), and Local Code T4 [reasonable time for defense
 6   counsel to prepare].
 7   Dated: May 20, 2011                                 Respectfully submitted,
 8                                                       /s/ Michael E. Hansen
                                                         MICHAEL E. HANSEN
 9                                                       Attorney for Defendant
                                                         NORMA GONZALEZ
10
     Dated: May 20, 2011                                 /s/ Michael E. Hansen for
11                                                       DOUGLAS BEEVERS
                                                         Attorney for Defendant
12                                                       CRESCENCIO DELGADO-EZQUIVEL
13   Dated: May 20, 2011                                 /s/ Michael E. Hansen for
                                                         DANNY D. BRACE, JR.
14                                                       Attorney for Defendant
                                                         ARMANDO VASQUEZ-BARRAGAN
15
     Dated: May 20, 2011                                 /s/ Michael E. Hansen for
16                                                       DINA SANTOS
                                                         Attorney for Defendant
17                                                       WALDO PEREZ-MENDOZA
18   Dated: May 20, 2011                                 /s/ Michael E. Hansen for
                                                         DWIGHT SAMUEL
19                                                       Attorney for Defendant
                                                         VICTOR GONZALEZ
20
     Dated: May 20, 2011                                 BENJAMIN B. WAGNER
21                                                       United States Attorney
22                                                       By: /s/ Michael E. Hansen for
                                                         SAMUEL WONG
23                                                       Assistant U.S. Attorney
                                                         Attorney for Plaintiff
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 1                                              ORDER
 2          IT IS HEREBY ORDERED that the previously-scheduled status conference date of
 3   May 24, 2011, be vacated and the matter set for status conference on July 19, 2011. The Court
 4   finds that the ends of justice to be served by granting a continuance outweigh the best interests
 5   of the public and the defendants in a speedy trial. Accordingly, IT IS HEREBY ORDERED
 6   that, for the reasons stated in the parties’ May 23, 2011, stipulation, time from May 20, 2011,
 7   through and including July 19, 2011, shall be excluded from computation of time within which
 8   the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18 U.S.C.
 9   §§ 3161(h)(7)(A) and (B)(iv) and Local Code T4, due to the need to provide defense counsel
10   with reasonable time to prepare taking into account due diligence.
11
12   Dated: May 23, 2011           _________
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     Stipulation and [Proposed] Order to Continue Status Conference
